           Case 4:19-cv-00078-BMM Document 9 Filed 11/02/20 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                          GREAT FALLS DIVISION

 CROXFORD & SONS, INC.;
 CROXFORD FUNERAL HOME &                             CV-19-78-GF-BMM
 CREMATORY, INC.; CROXFORD
 D & M, INC.; and DENNIS
 CROXFORD;                                                 ORDER

                          Plaintiffs,

      v.

 CONTINENTAL WESTERN
 INSURANCE COMPANY;

                          Defendant.

      Plaintiffs Croxford & Sons, Inc.; Croxford Funeral Home & Crematory,

Inc.; Croxford D & M, Inc., and Dennis Croxford (collectively “Croxford”)

submitted a Second Status Report to this Court on October 30, 2020. (Doc. 8). The

Second Status Report indicates that this matter is set for a settlement conference in

December 2020. (Doc. 8 at 2). Croxford requests that this Court require the parties

to submit a Third Status Report following the settlement conference. (Doc. 8 at 2).

      After reviewing the Second Status Report and good cause appearing, IT IS

HEREBY ORDERED that Croxford shall have until December 30, 2020, to file a


                                          2
        Case 4:19-cv-00078-BMM Document 9 Filed 11/02/20 Page 2 of 2



Third Status Report with the Court regarding settlement or service of the

Complaint.

      DATED this 2nd day of November, 2020.




                                         2
